Case: 3:21-cv-00302-WHR-SLO Doc #: 28 Filed: 11/30/21 Page: 1 of 2 PAGEID #: 221




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

 MECHANICAL CONSTRUCTION
 MANAGERS, LLC, d/b/a RIECK
 SERVICES,
               Plaintiff,                       Case No. 3:21-cv-302

        v.                                      JUDGE WALTER H. RICE

 KEVIN PASCHKA, et al,
               Defendants.




        ORDER DIRECTING PLAINTIFF TO IDENTIFY BY EXHIBIT NUMBER THE
        ALLEGED CONFIDENTIAL AND PROPRIETARY INFORMATION
        DEFENDANT PASCHKA SENT TO HIMSELF AS STATED IN BENCH BRIEF
        FOR HEARING ON PLAINTIFF'S MOTION FOR PRELIMINARY
        INJUNCTION (DOC. #24)




       Plaintiff, Mechanical Construction Managers, LLC, d/b/a Rieck Services

("Rieck" or "Plaintiff"), filed a Bench Brief for Hearing on Plaintiff's Motion for

Preliminary Injunction. Doc. #24. In this filing, Plaintiff lists eight different

documents that "Paschka sent himself... containing Rieck's confidential and

proprietary information." Id, at PagelD##201-202. The eight documents, which

have presumably been admitted into evidence, are not identified by an exhibit

number. Accordingly, counsel for Plaintiff is file a supplemental statement, by

the close of business on December 1, 2021, identifying each of the eight

documents referenced in the Bench Brief, Doc. #24, PagelD##201-202, by exhibit

number.
Case: 3:21-cv-00302-WHR-SLO Doc #: 28 Filed: 11/30/21 Page: 2 of 2 PAGEID #: 222




Date: November 30, 2021
                                     WALTER H. RICE
                                     UNITED STATES DISTRICT JUDGE




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